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                               EXHIBIT B
               Professional Resume of Steve Riley, CPA, CFE
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                                        STEVE RILEY, CPA, CFE
                                210 October Glory Drive, Blythewood, SC 29016
                                 stephan.p.riley@gmail.com/steve@sc-cpa.com
                                                 803.351.0623

EXPERIENCE

             Barb & Company, PA                                                                       January 2022 – Present
             Audit Shareholder                                                                                   Columbia, SC
              Responsible for the Firm’s audit and attestation practice and administration of the Firm’s activities.

             Barb & Company, PA                                                             August 2016 – December 2021
             Audit Director                                                                              Columbia, SC
              Responsible for the management of the assurance practice of the Firm.
              Lead audits, reviews, compilations, and other assurance-related engagements.
              Create and implement Firm policy for assurance practice of the Firm.
              Develop strong working relationships with current and prospective clients in order to offer exceptional
               professional services and client experience.

             Elliott Davis, LLC                                                              August 2014 – August 2016
             Audit Senior                                                                               Columbia, SC
              Lead associates on non-publicly traded client audit, review and compilation engagements within the
               manufacturing, not-for-profit, governmental, and service provider industries.
              Worked and communicated effectively with staff and clients to enhance their understanding of audit,
               accounting, and business issues.
              Prepared budgets and monitored financial economics on all engagements.
              Assisted with business development opportunities of the Firm, which included client conferences, business
               networking activities and seminar attendance.

             PricewaterhouseCoopers LLP (PwC)                                                  November 2010 – August 2014
             Senior Associate - Assurance                                                                     Washington D.C.
              Lead teams of 3-7 associates on non-publicly traded client engagements within the hospitality, medical,
               manufacturing, law, private equity and specialized investment industries.
              Coordinated audit deliverables and internal services with domestic and international engagement teams,
               including Switzerland, Australia, India, and Canada.
              Worked directly with top financial executives of audit clients as well as PwC partners on all engagements.
              Participated on the government-mandated Foreclosure Look-Back Review engagement for US Bank, Citibank,
               JP Morgan, Bank of America, and Ally Financial Inc.
              Partnered with internal PwC specialists regarding financial accounting issues of impairment, pension & post
               retirement benefit obligations, and worker’s compensation.

             Schmoyer and Company, LLC                                                       November 2009 – November 2010
             Staff Accountant – Audit & Tax                                                                      Columbia, SC
              Prepared and reviewed financial statements for compilation, review, and audit engagements of a variety of
               companies and organizations in the service, healthcare, and nonprofit sectors.
              Prepared control risk assessments, audit programs, audit reports, and memorandums for audit engagements.
              Analyzed complex financial data and defined relevant information used in the preparation of budgets and
               forecasts.
              Researched and documented financial statement disclosure requirements.
              Compiled quarterly income-tax and accrual basis financial statements.
              Prepared multi-state corporate, individual, partnership, S-corporation, and not-for-profit income tax returns.
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              Dixon Hughes Goodman LLP                                                                  August 2008- April 2009
              Audit Associate                                                                                      Charleston, SC
               Performed audits of wholesale construction, not-for-profit and healthcare organizations in accordance with the
                Generally Accepted Auditing Standards while maintaining professional integrity and objectivity. Actively
                participated in physical inventory of audit clients.
               Conducted reviews of construction companies through the use of analytical procedures and management inquiry
                in an effort to develop expectations concerning the reliability of client-prepared financial statements.
               Drafted audited financial statements, ensuring clarity and understandability, while maintaining proper
                presentation and disclosure objectives as a part of attestation and assurance responsibilities

PROFESSIONAL
CERTIFICATIONS
AND MEMBERSHIPS
               Certified Public Accountant (CPA) – Issued March 2010 (State – SC)
               Certified Fraud Examiner (CFE) – Issued September 2020
               Member – South Carolina Association of CPAs (SCACPA)
               Member – American Institute of Certified Public Accountants (AICPA)

EDUCATION     UNIVERSITY OF SOUTH CAROLINA                                                    August 2003 - December 2007
              Moore School of Business                                                                           Columbia, SC
              Bachelor of Science in Business Administration
               Emphasis in Accounting, Minor in English
               Selected for LIFE Scholarship, based on academic excellence
               Dean's Honor Roll – List reserved for GPA of 3.5 or higher
               Member, National Dean’s List
               One of three recipients of the Dr. Curba Lampert Strategic Mind Award


COMMUNITY Turning Pages – Non-Profit Organization                                                    August 2015 – April 2022
          Executive Board Member - Treasurer                                                                   Columbia, SC
               Record monthly contributions and expenditures of the organization
               Create a yearly budget for the organization and monitor budgeted amounts to actual results
               Present monthly financial results in the form of financial statements to other Board members
               Participate in the Board's evaluation of planning efforts as well as fund raising activities
               Filing of annual federal tax return and state required financial reporting
